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                                                             GIGANEWS, INC., and
                                                           9 LIVEWIRE SERVICES, INC.
                                                          10                         UNITED STATES DISTRICT COURT
                                                          11                       CENTRAL DISTRICT OF CALIFORNIA
                                                          12                                 WESTERN DIVISION
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                                                          13 PERFECT 10, INC., a California
                                      SAN FRA NCI S CO




                                                                                                       Case No.: 11-cv-07098-AB (SHx)
                         AT




                                                             corporation,
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                                                          14
                                                                             Plaintiff,                MEMORANDUM OF POINTS AND
                                                          15                                           AUTHORITIES IN SUPPORT OF
                                                                    v.                                 DEFENDANTS GIGANEWS, INC.
                                                          16                                           AND LIVEWIRE SERVICES,
                                                             GIGANEWS, INC., a Texas Corporation;      INC.’S DAUBERT MOTION TO
                                                          17 LIVEWIRE SERVICES, INC., a Nevada         EXCLUDE EXPERT TESTIMONY
                                                             corporation; and DOES 1 through 100,      OF JUSTIN DOUGLAS TYGAR
                                                          18 inclusive,                                PURSUANT TO FEDERAL RULE
                                                                                                       OF EVIDENCE 702
                                                          19                   Defendants.
                                                                                                  Date:        October 27, 2014
                                                          20                                      Time:        10:00 a.m.
                                                             GIGANEWS, INC., a Texas Corporation; Courtroom: 790 Roybal
                                                          21 LIVEWIRE SERVICES, INC., a Nevada Judge:          Hon. André Birotte
                                                             Corporation,
                                                          22
                                                                          Counterclaimants,       Discovery Cut-off: June 30, 2014
                                                          23                                      Pretrial Conference: January 19, 2015
                                                                  v.                              Trial Date:          January 27, 2015
                                                          24
                                                             PERFECT 10, INC., a California
                                                          25 Corporation,
                                                          26              Counterdefendant.
                                                          27
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                                                           1 I.      INTRODUCTION
                                                           2         The reports of Perfect 10, Inc.’s expert, Justin Douglas Tygar, contain
                                                           3 opinions that far exceed the scope of his expertise. Though qualified only as a
                                                           4 computer scientist, Mr. Tygar provides extensive opinions about both the incidence
                                                           5 of infringement on Usenet and measures that Defendant Giganews, Inc. could
                                                           6 theoretically implement in order to reduce potential infringement. By Mr. Tygar’s
                                                           7 own admission, these additional opinions lack a reliable basis either in his expertise
                                                           8 or in his analysis. Mr. Tygar has no special expertise in identifying online
                                                           9 infringements. Further, Mr. Tygar has virtually no server-side experience with
                                                          10 Usenet. Rather, his familiarity with Usenet is largely limited to his experiences as
                                                          11 a user, and the principal part of that experience occurred decades ago.
                                                          12         Despite these conspicuous deficiencies, Perfect 10 nevertheless uses
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                                                          13 Mr. Tygar’s expert reports as a Trojan horse, attempting to leverage his expertise in
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                                                          14 one field as an improper vehicle for offering inadmissible opinions in many others.
                                                          15 Accordingly, Defendants Giganews and Livewire Services, Inc. respectfully ask
                                                          16 this Court to exclude all opinions by Mr. Tygar that exceed the scope of his
                                                          17 expertise as a computer scientist.
                                                          18 II.     LEGAL STANDARD
                                                          19         Under Rule 702, a witness may render expert opinions or proffer expert
                                                          20 testimony if qualified “by knowledge, skill, experience, training, or education.”
                                                          21 Fed. R. Evid. 702. Pursuant to its “gatekeeping role” in admitting expert testimony,
                                                          22 trial courts must ensure that any expert opinions advanced rest upon a reliable basis.
                                                          23 Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596-97 (1993); see also
                                                          24 Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999) (applying the
                                                          25 requirements of Daubert to all expert testimony). The party seeking admission of
                                                          26 expert testimony bears the burden of establishing admissibility. See Bourjaily v.
                                                          27 United States, 483 U.S. 171, 175-76 (1987).
                                                          28

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                                                           1         Testimony that exceeds the scope of an expert’s qualifications is not reliable.
                                                           2 See, e.g., Wheeling Pittsburgh Steel Corp. v. Beelman River Terminals, Inc., 254
                                                           3 F.3d 706, 715 (8th Cir. 2001) (“[A] district court must continue to perform its
                                                           4 gatekeeping role by ensuring that the actual testimony does not exceed the scope of
                                                           5 the expert’s expertise, which if not done can render expert testimony unreliable
                                                           6 under Rule 702, Kumho Tire, and related precedents.”). In other words, “[i]t is not
                                                           7 enough that the proposed expert have expertise in an area of knowledge.” In re
                                                           8 Canvas Specialty, Inc., 261 B.R. 12, 19 (Bankr. C.D. Cal. 2001). Rather, “[t]he
                                                           9 expertise must be relevant to the determination of the facts in issue.” Id. (emphasis
                                                          10 added); see also Gable v. NBC, 727 F. Supp. 2d 815, 835-36 (C.D. Cal. 2010)
                                                          11 (excluding testimony by copyright expert about substantial similarity, because “his
                                                          12 legal expertise does not qualify him as a literary expert” capable of rendering such
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                                                          13 an opinion), aff’d, 438 F. App’x 587 (9th Cir. 2011). Accordingly, the trial court
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                                                          14 should exclude such opinions.
                                                          15 III.    ARGUMENT
                                                          16         A.    The Court Should Exclude All Opinions by Mr. Tygar that Exceed
                                                          17               the Scope of His Expertise.
                                                          18               1.     Mr. Tygar Lacks Expertise for Any of His Opinions About
                                                          19                      the Incidence of Infringement on Usenet.
                                                          20         Defendants do not contest Mr. Tygar’s credentials as a computer scientist.
                                                          21 But Perfect 10 attempts to introduce several opinions that reach far beyond the
                                                          22 reasonable scope of Mr. Tygar’s expertise. In particular, Mr. Tygar’s expert reports
                                                          23 include a number of opinions about the incidence of copyright infringement on
                                                          24 Usenet, even though Mr. Tygar lacks any pertinent qualifications to make such a
                                                          25 judgment. See Declaration of Joseph S. Belichick (“Belichick Decl.”), filed
                                                          26 concurrently herewith, at ¶ 2, Ex. 1 [July 21, 2014 Opening Expert Report of J.
                                                          27 Douglas Tygar (“Tygar Opening Report”)] at ¶¶ 20(a), 22, 24-26, 31-34; ¶ 3, Ex. 2
                                                          28 [August 4, 2014 Opposition Expert Report of J. Douglas Tygar (“Tygar Opposition
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                                                           1 Report”)] at ¶¶ 7(c), 27; ¶ 4, Ex. 3 [August 18, 2014 Rebuttal Expert Report of J.
                                                           2 Douglas Tygar (“Tygar Rebuttal Report”)] at ¶¶ 29, 32-33. The Court should
                                                           3 exclude all efforts by Perfect 10 to advance these additional, unsupported opinions
                                                           4 through Mr. Tygar.
                                                           5         Relying on Mr. Tygar’s testimony, Perfect 10 attempts to cast Usenet as an
                                                           6 environment containing “stunning amounts of binary files containing copyright
                                                           7 protected material (with no indication that they are being legally distributed under a
                                                           8 license).” Belichick Decl. at ¶ 2, Ex. 1 [Tygar Opening Report] at ¶ 26. But
                                                           9 Mr. Tygar acknowledges that, under the standard Usenet protocol, there is no
                                                          10 indicator to convey whether a Usenet poster has rights to transmit the material in a
                                                          11 particular message. Belichick Decl. at ¶ 5, Ex. 4 [Transcript of August 21, 2014
                                                          12 Expert Deposition of J. Douglas Tygar (“Tygar Expert Depo.”)] at 92:6-11.
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                                                          13 Furthermore, Mr. Tygar admits that he lacks any special legal expertise or training
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                                                          14 to determine whether any particular material on Usenet is infringing. Id. at 94:7-
                                                          15 96:3, 96:12-97:22, 126:15-127:2, 140:3-141:5, 225:21-226:9; see also id. at ¶ 4, Ex.
                                                          16 3 [Tygar Rebuttal Report] at ¶ 23 (“I am not a lawyer or a copyright expert, and I
                                                          17 am not in a position to determine rights.”). Nor does Mr. Tygar have expertise in
                                                          18 licensing relationships or copyright law more broadly. Belichick Decl. at ¶ 5, Ex. 4
                                                          19 [Tygar Expert Depo.] at 129:18-22. And Mr. Tygar admittedly has no idea what
                                                          20 proportion of pornographic material on Usenet is posted by copyright owners of the
                                                          21 material in question. Id. at 230:3-6.
                                                          22         Instead, Mr. Tygar bases his claims that Usenet messages may contain
                                                          23 infringing materials on his “own understanding as a layperson.” Id. at 96:12-97:22
                                                          24 (emphasis added); see also id. at 124:21-126:13 (same). It is axiomatic that for
                                                          25 expert testimony to be helpful to the trier of fact, and therefore admissible, it must
                                                          26 “address an issue beyond the common knowledge of the average layman.” United
                                                          27 States v. Vallejo, 237 F.3d 1008, 1019, opinion amended on denial of reh’g, 246
                                                          28 F.3d 1150 (9th Cir. 2001). It is unhelpful and improper for Mr. Tygar to introduce
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                                                           1 his own lay understanding of Usenet infringement issues, particularly when
                                                           2 Perfect 10 misleadingly cloaks his lay views as expert testimony.
                                                           3         Not only did his deposition reveal that Mr. Tygar lacks expertise in making
                                                           4 infringement determinations, but it also established that he made no serious effort
                                                           5 to investigate whether any of the messages he encountered on Usenet actually
                                                           6 infringed copyrighted material. Beyond looking at the information in the “From”
                                                           7 header field, Mr. Tygar did nothing to determine who actually posted the material
                                                           8 that he opined to be infringing. Belichick Decl. at ¶ 5, Ex. 4 [Tygar Expert Depo.]
                                                           9 at 97:23-99:15; see also id. at 99:8-15 (“I wasn’t asked to investigate who posted
                                                          10 the messages, and I did not attempt to make such an investigation.”). Worse yet,
                                                          11 Mr. Tygar kept no record of the Usenet messages he downloaded in connection
                                                          12 with his analysis, making it impossible for Defendants or the Court to assess or
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                                                          13 independently verify Mr. Tygar’s claims of pervasive infringement. See id. at
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                                                          14 137:10-21. That failure to preserve the factual record makes Mr. Tygar’s already
                                                          15 unreliable testimony completely useless.
                                                          16         Similarly, Mr. Tygar’s claim that “scams” plague Usenet has no reliable
                                                          17 basis in either his expertise or his analysis. See Belichick Decl. at ¶ 2, Ex. 1 [Tygar
                                                          18 Opening Report] at ¶ 22. Mr. Tygar admits that he did not conduct any further
                                                          19 investigation into the articles he claims contain “scams” or malware. Belichick
                                                          20 Decl. at ¶ 5, Ex. 4 [Tygar Expert Depo.] at 84:4-14. In fact, Mr. Tygar does not
                                                          21 even recall any of the subject headers for the “scam” articles. Id. at 85:12-22.
                                                          22         In summary, Mr. Tygar lacks any expert or even factual basis for his
                                                          23 opinions regarding infringing or scamming conduct on Usenet. The Court should
                                                          24 not permit Perfect 10 to use Mr. Tygar’s testimony to create the prejudicial and
                                                          25 baseless impression that scams and infringing content dominate Usenet. “The court
                                                          26 may exclude relevant evidence if its probative value is substantially outweighed by
                                                          27 a danger of . . . unfair prejudice.” Fed. R. Evid. 403. The Court should therefore
                                                          28 exclude any opinions or testimony by Mr. Tygar regarding infringement.
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                                                           1               2.     Mr. Tygar Has No Basis for His Opinions About Measures
                                                           2                      Giganews Might Take to Reduce Potential Infringement.
                                                           3         Perfect 10 also attempts to advance testimony by Mr. Tygar regarding steps
                                                           4 Giganews might theoretically undertake to curb alleged infringement on Usenet.
                                                           5 See Belichick Decl. at ¶ 2, Ex. 1 [Tygar Opening Report] at ¶¶ 20(c), 30, 45-47, 62-
                                                           6 65; ¶ 3, Ex. 2 [Tygar Opposition Report] at ¶¶ 10-12, 15-18, 22-35; ¶ 4, Ex. 3
                                                           7 [Tygar Rebuttal Report] at ¶¶ 9(c), 17-28. As with Mr. Tygar’s conclusory
                                                           8 statements about infringement, these additional opinions lack any expert or even
                                                           9 factual basis and should be excluded.
                                                          10         As an initial matter, Mr. Tygar’s professional experience with Usenet is very
                                                          11 limited. Mr. Tygar has never operated a Usenet server or hosted a Usenet service.
                                                          12 Belichick Decl. at ¶ 5, Ex. 4 [Tygar Expert Depo.] at 161:22-162:3. Nor has he
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                                                          13 ever consulted professionally about Usenet prior to his engagement with Perfect 10.
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                                                          14 Id. at 60:21-25. At his deposition, Mr. Tygar could not identify a single book,
                                                          15 article, or speech he has written about the Network News Transfer Protocol
                                                          16 (“NNTP”) or Usenet more broadly. 1 Id. at 59:22-60:19. Indeed, Mr. Tygar has had
                                                          17 no pertinent professional experience related to Usenet beyond teaching about it as
                                                          18 just one topic of many in the software engineering course he taught at Carnegie
                                                          19 Mellon University in the 1980s. Id. at 59:9-21.
                                                          20         Mr. Tygar’s only potentially relevant experience with Usenet is as a user.
                                                          21 By his own admission, the closest Mr. Tygar came to a Usenet server was speaking
                                                          22 to some of the individuals who operated the Usenet server at Carnegie Mellon.
                                                          23
                                                               1
                                                          24     In his deposition, Mr. Tygar mentioned that he did attend some conferences
                                                               pertaining to Usenet put on by the USENIX Association “in the late 80’s and early
                                                          25   90’s.” Belichick Decl. at ¶ 5, Ex.4 [Tygar Expert Depo.] at 61:2-12. When
                                                          26   questioned about those events, however, Mr. Tygar testified that he did not
                                                               remember anything about the substance of these conferences. Id. at 62:2-5.
                                                          27   Mr. Tygar did not make any presentations about Usenet at these conferences. Id. at
                                                          28   59:22-60:2. Rather, he spoke only about security issues. Id. at 61:15-17.
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                                                           1 Belichick Decl. at ¶ 5, Ex. 4 [Tygar Expert Depo.] at 161:9-21. That very limited
                                                           2 experience is as stale as it is one-sided. For example, the last time Mr. Tygar can
                                                           3 remember posting anything to Usenet was in the 1990s. Id. at 70:17-20.
                                                           4         Furthermore, Mr. Tygar made no effort to cure these deficiencies in his
                                                           5 Usenet experience before delivering opinions about how Giganews could reduce
                                                           6 infringement on Usenet. To date, Mr. Tygar has reviewed no source code defining
                                                           7 the operations for either Giganews or any other major Usenet provider. Belichick
                                                           8 Decl. at ¶ 5, Ex. 4 [Tygar Expert Depo.] at 117:10-21 (“I was not provided source
                                                           9 code; so I can’t say exactly what technological measures Giganews uses in its
                                                          10 Usenet server, and I also have not been provided source code for other major
                                                          11 Usenet providers.”). Mr. Tygar also admits that he lacks any independent
                                                          12 information about Giganews’s operations (i.e., file server set-up, maintenance,
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                                                          13 testing, and repair) and how those operations compare to the operations of other
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                                                          14 Usenet providers. Id. at 143:2-144:25, 147:24-148:2, 148:6-25. In fact, Mr. Tygar
                                                          15 admits that he does not even know what technical steps Giganews must perform in
                                                          16 order to delete a message from its Usenet servers. Id. at 168:17-169:4. When
                                                          17 questioned at his deposition, Mr. Tygar could not identify a single method by which
                                                          18 Giganews can supervise or control the conduct of its customers, beyond providing
                                                          19 general access to Usenet and providing the Mimo newsreader application software.
                                                          20 Id. at 149:8-150:14.
                                                          21         Without any knowledge of Giganews’s actual operations, Mr. Tygar’s
                                                          22 opinions about how Giganews could reduce infringement are pure speculation. In
                                                          23 his deposition, Mr. Tygar essentially conceded that fact, testifying that he cannot
                                                          24 determine how to implement his proposed solutions without first reviewing
                                                          25 Giganews’s source code. See, e.g., Belichick Decl. at ¶ 5, Ex. 4 [Tygar Expert
                                                          26 Depo.] at 188:18-189:10, 189:25-190:23 (detailing necessary steps for installing
                                                          27 filters to block access to Perfect 10’s copyrighted material: “[F]irst I would request
                                                          28 to see the source code that the Usenet service was using. . . . The next step would
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                                                           1 depend on my examination of the source code that the Usenet service was using.”).
                                                           2 Time and again, Mr. Tygar’s deposition testimony revealed that he lacks sufficient
                                                           3 basis for his proposed changes to Giganews’s architecture:
                                                           4         • One of Mr. Tygar’s proposals would require creating indexes with
                                                           5            additional fields, such as User ID and IP address, for Usenet
                                                           6            messages in the binary newsgroups. See Belichick Decl. at ¶ 2,
                                                           7            Ex. 1 [Tygar Opening Report] at ¶ 65; ¶ 3, Ex. 2 [Tygar
                                                           8            Opposition Report] at ¶¶ 28-31; ¶ 5, Ex. 4 [Tygar Expert Depo.] at
                                                           9            217:14-218:1, 218:16-21. But, while maintaining that such an
                                                          10            indexing measure would not require an “infeasible effort,”
                                                          11            Mr. Tygar eventually admitted that he has no understanding of
                                                          12            what would actually be required for Giganews to create new
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                                                          13            indexes for all binary messages on its servers. Id. at 220:7-
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                                                          14            223:21. 2
                                                          15         • Mr. Tygar also proposes that Giganews use image-recognition
                                                          16            and/or optical-character-recognition (“OCR”) software. See
                                                          17            Belichick Decl. at ¶ 3, Ex.2 [Tygar Opposition Report] at ¶ 12; ¶ 5,
                                                          18            Ex. 4 [Tygar Expert Depo.] at 232:7-234:2. But Mr. Tygar
                                                          19            admitted that he is unaware of any Usenet service providers that
                                                          20            perform image-recognition functions, and further that he does not
                                                          21            know how Giganews could incorporate this functionality into its
                                                          22            existing architecture. Id. at 233:14-234:2.
                                                          23         • Mr. Tygar admits that he does not know of any filtering
                                                          24            mechanisms available to Usenet providers, either on the server-
                                                          25            side or on the client-side, and did not investigate the availability of
                                                          26   2
                                                               Mr. Tygar also testified that he does not know how many messages appear in the
                                                          27 binary newsgroups and has not investigated the matter. Belichick Decl. at ¶ 5,
                                                          28 Ex. 4 [Tygar Expert Depo.] at 218:23-25, 219:24-220:6.
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                                                           1            such applications. Belichick Decl. at ¶ 5, Ex. 4 [Tygar Expert
                                                           2            Depo.] at 192:16-24, 193:2-6, 197:17-198:3.
                                                           3         • Tygar claims that Giganews can use “cancel commands” to reduce
                                                           4            copyright infringement on Usenet. See Belichick Decl. at ¶ 2, Ex.
                                                           5            1 [Tygar Opening Report] at ¶¶ 20(e), 30, 62-63; ¶ 3, Ex. 2 [Tygar
                                                           6            Opposition Report] at ¶¶ 9-10; ¶ 4, Ex. 3 [Tygar Rebuttal Report]
                                                           7            at ¶¶ 18-20. But Mr. Tygar admitted that he did not investigate
                                                           8            this issue and that he is unaware of any Usenet provider that
                                                           9            currently honors such commands. Belichick Decl. at ¶ 5, Ex. 4
                                                          10            [Tygar Expert Depo.] at 244:13-245:7.
                                                          11 These facts demonstrate that Perfect 10 is attempting to use Mr. Tygar as a conduit
                                                          12 for Perfect 10’s own meritless theories about protective measures Giganews might
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                                                          13 implement, without having Mr. Tygar have basic knowledge of, or perform a basic
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                                                          14 investigation into, the viability of those measures.
                                                          15         At bottom, while Mr. Tygar’s qualifications as a computer scientist allow
                                                          16 him to render certain expert opinions in this litigation, his testimony about
                                                          17 measures Giganews could take to reduce alleged infringement on Usenet far exceed
                                                          18 the scope of any relevant expertise. See United States v. Hayat, 2:05-CR-240-GEB,
                                                          19 2007 WL 1454280, at *23 (E.D. Cal. May 17, 2007) (excluding expert testimony
                                                          20 that exceeded the scope of the witness’s expertise), aff’d, 710 F.3d 875 (9th Cir.
                                                          21 2013); Wheeling Pittsburgh Steel, 254 F.3d at 715 (district court erred in admitting
                                                          22 testimony from a witness who, “[t]hough eminently qualified to testify as an expert
                                                          23 hydrologist regarding matters of flood risk management, . . . sorely lacked the
                                                          24 education, employment, or other practical personal experiences to testify as an
                                                          25 expert specifically regarding safe warehousing practices”). This Court should
                                                          26 exclude all efforts by Perfect 10 to advance unsupported opinions that exceed
                                                          27 Mr. Tygar’s computer-science expertise.
                                                          28
                                                               MPA ISO DEFS.’ MTN. TO EXCLUDE EXPERT      8              CASE NO. 11-cv-07098-AB (SHx)
                                                               TESTIMONY OF JUSTIN DOUGLAS TYGAR
                                                         Case 2:11-cv-07098-AB-JPR Document 472-1 Filed 09/29/14 Page 12 of 12 Page ID
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                                                           1 IV.     CONCLUSION
                                                           2         For the foregoing reasons, Defendants respectfully request that the Court
                                                           3 exclude all testimony and opinions offered by Justin Douglas Tygar about the
                                                           4 incidence of infringement on Usenet and measures Giganews could undertake to
                                                           5 reduce infringement.
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                                                           8 Dated: September 29, 2014                 FENWICK & WEST LLP
                                                           9
                                                                                                       By: /s/ Andrew P. Bridges
                                                          10                                              Andrew P. Bridges
                                                          11                                           Attorneys for Defendants
                                                                                                       GIGANEWS, INC., and LIVEWIRE
                                                          12                                           SERVICES, INC.
F ENWICK & W ES T LLP
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                                                               MPA ISO DEFS.’ MTN. TO EXCLUDE EXPERT       9             CASE NO. 11-cv-07098-AB (SHx)
                                                               TESTIMONY OF JUSTIN DOUGLAS TYGAR
